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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                         NORTHERN DIVISION AT COVINGTON

 TIMOTHY GREGG                                   :
 c/o Christopher Wiest                           :     CASE NO: 2:24-cv-00134-DCR
 Chris Wiest, Attorney At Law, PLLC              :
 50 E. Rivercenter Blvd, Ste. 1280               :     JUDGE:
 Covington, KY 41011,                            :
                                                 :
        Plaintiff,                               :     VERIFIED COMPLAINT
                                                 :
 v.                                              :
                                                 :     (WITH JURY DEMAND)
 ST. ELIZABETH MEDICAL CENTER,                   :
 INC.                                            :
 1 Medical Village Drive                         :
 Edgewood, KY 41017,                             :
                                                 :
                     Defendant.                  :

       Now comes Plaintiff, Timothy Gregg, by and through counsel, and for his complaint

against Defendant St. Elizabeth Medical Center, Inc., states as follows:

                              I. PRELIMINARY STATEMENT

       1.      Plaintiff is a former employee of Defendant who is disabled and/or regarded as

disabled by Defendant within the meaning of the Americans with Disabilities Act, due to various

medical and/or mental health conditions. Plaintiff was also an eligible employee under the Family

and Medical Leave Act.

       2.      Plaintiff brings this action against Defendant because Defendant unlawfully

discharged him because of his disability and/or because he took disability leave.

       3.      Plaintiff seeks compensatory damages, punitive damages, declaratory relief and

reasonable attorney’s fees and costs.
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                               II. JURISDICTION AND VENUE

        4.     Jurisdiction of the Court is invoked pursuant to 28 U.S.C. § 1331 because Plaintiff

is asserting claims arising under federal law; the Americans with Disabilities Act (ADA), 42

U.S.C. § 12101 et seq. and the Family and Medical Leave Act (FMLA), 29 U.S.C. § 2601 et seq.

        5.     This Court has supplemental jurisdiction over Plaintiff’s state law claim pursuant

to 28 U.S.C. § 1367, because the state law claims are so related to the federal claims over which

the Court has jurisdiction that they form part of the same case or controversy.

        6.     Venue is proper in this judicial district under 28 U.S.C. § 1391(b) because the acts

complained of occurred within this judicial district.

                           III. PROCEDURAL REQUIREMENTS

        7.     On or about October 10, 2023, Plaintiff filed a timely charge of discrimination with

the Equal Employment Opportunity Commission, asserting that Defendant had unlawfully

discriminated and retaliated against him on the basis of his disability. A copy of the Charge is

attached as Exhibit A.

        8.     The charge was filed within three hundred (300) days of the alleged unlawful

activity.

        9.     Plaintiff requested and received a Notice of Right to Sue, issued June 6, 2024. A

copy of the Notice is attached as Exhibit B.

        10.    This Complaint will be filed within ninety (90) days of Plaintiff’s receipt of the

Notice of Right to Sue.

                                          IV. PARTIES

        11.    Plaintiff Timothy Gregg is an adult male citizen of the United States who is a

resident of Hamilton County, Ohio. Plaintiff is disabled and/or regarded as disabled within the

meaning of the ADA. At all relevant times, Plaintiff was an “eligible employee” under the FMLA.
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        12.     Defendant is a non-profit Kentucky corporation. Upon information and belief,

Defendant operates six facilities throughout Northern Kentucky and Southeastern Indiana.

        13.     At all relevant times, Defendant has been doing and continues to do business at its

facility located at 1 Medical Drive, Edgewood, Kentucky, in this judicial district.

        14.     Defendant is an employer within the meaning of 42 U.S.C. § 12111(5), 29 U.S.C.

§ 2611(4), and KRS § 344.030(2).

                          V. LR 3.1 STATEMENT OF RESIDENCE

        15.     Defendant’s location at which Plaintiff worked, 1 Medical Drive, Edgewood,

Kentucky, is located in Kenton County, Kentucky.

        16.     Pursuant to LR 3.1(a)(1)(B), the District Court located in Covington, Kentucky is

the appropriate jury division because a substantial part of the events or omissions giving rise to the

claim occurred in Kenton County, Kentucky.

                                 VI. STATEMENT OF FACTS

        17.     Defendant hired Plaintiff as a full-time service desk analyst in or about September

2011.

        18.     Throughout Plaintiff’s employment, he received regular raises and promotions.

        19.     Throughout Plaintiff's employment, he met Defendant’s legitimate employment

expectations.

        20.     In or about July 2018, Plaintiff was diagnosed with Manic Depression Disorder.

        21.     Defendant was aware of Plaintiff’s disability, and he received medical care for his

disability from Defendant.

        22.     Because of his disability, he took a leave of absence from on or about July 28, 2018

until on or about August 27, 2018.



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       23.       After Plaintiff returned from disability leave, Defendant demonstrated hostility

toward and discriminated against him because of his disability. In a 2018 performance evaluation,

Defendant’s IS Support and Computer Operations Manager Gerald Christen referenced Plaintiff’s

disability, mentioning his “times of excellence,” “low times,” and “personal issues.”

       24.       In May 2019, Defendant’s Director IT Infrastructure, John Proud, denied Plaintiff

a lateral transfer, stating that Plaintiff “had ups and downs” and that he would like to see more

“consistency.”

       25.       On or about May 9, 2019, Plaintiff complained to his department’s human resources

representative, Peggy Essert, about incidents that he reasonably believed constituted

discrimination on the basis of his disability.

       26.       Between 2019 and 2023, Plaintiff had approximately six (6) episodes, related to his

disability, which caused him to be off work for a period of time. Defendant approved each of

Plaintiff's disability leaves. Plaintiff returned to work after each leave and met Defendant’s

legitimate employment expectations.

       27.       In or about August 2023, Plaintiff’s disability caused him to take leave from on or

about August 11, 2023 until August 28, 2023.

       28.       All of Plaintiff’s disability leaves, including the one prior to his termination, were

properly taken under the Family and Medical Leave Act.

       29.       While Plaintiff was off work on disability leave in August 2023, Defendant decided

to terminate his employment. Defendant fired Plaintiff when he returned to work on August 28,

2023. Defendant’s stated reasons for the termination were “things are just not working out” and

they would “have to let [him] go.”




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          30.   Defendant did not have a legitimate, lawful, non-discriminatory reason to fire

Plaintiff.


                                 VII. STATEMENT OF CLAIMS

                                             Count One
                          Disability Discrimination in Violation of the ADA
                                       42 U.S.C. § 12101 et seq.

          31.   Plaintiff incorporates by reference all of the above paragraphs as though fully

restated herein.

          32.   Plaintiff is a qualified individual with a disability, is perceived as disabled, and/or

had a record of disability as defined by the ADA, 42 U.S.C § 12101 et seq. Defendant knew of

Plaintiff’s disability.

          33.   Alternatively, Defendant regarded Plaintiff as disabled.

          34.   Plaintiff could perform the essential functions of his position with or without a

reasonable accommodation.

          35.   By discharging Plaintiff, Defendant intentionally, willfully and wantonly

discriminated against Plaintiff because of his disability in violation of the ADA, 42 U.S.C § 12101

et seq.

          36.   Defendant’s unlawful employment practices complained of herein were done with

malice or reckless indifference to the federally protected rights of Plaintiff.

          37.   As a direct and proximate result of Defendant’s discriminatory conduct, Plaintiff

has been injured, including emotional distress, loss of income, and loss of career at Defendant, and

is entitled to compensation for damages caused by Defendant, including attorney’s fees and court

costs.




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                                           Count Two
                             Retaliatory Discharge under the FMLA
                                     29 U.S.C. § 2601 et seq.

       38.       Plaintiff incorporates by reference all of the above paragraphs as though fully

restated herein.

       39.       Plaintiff pleads this count pursuant to Rule 8(d)(2) of the Federal Rules of Civil

Procedure.

       40.       In August 2023, Plaintiff was entitled to FMLA leave pursuant to 29 U.S.C. §

2612(a)(1)(D).

       41.       In August 2023, Defendant granted Plaintiff leave under the FMLA.

       42.       After taking FMLA leave in August 2023, Plaintiff returned to work prior the

exhaustion of his FMLA leave.

       43.       Plaintiff engaged in protected activity when he took disability leave in August 2023.

       44.       Defendant was aware of Plaintiff’s protected activity.

       45.       Plaintiff was qualified for his position both before and after his FMLA leave.

       46.       Defendant decided to terminate Plaintiff while he was on disability leave.

Defendant advised Plaintiff that he was discharged immediately upon his return to work on or

about August 28, 2023.

       47.       A causal connection exists between Plaintiff’s exercise of his rights and

Defendant’s decision to unlawfully discharge him.

       48.       By discharging Plaintiff, Defendant intentionally and willfully discriminated

against Plaintiff in violation of Plaintiff's rights under the FMLA.

       49.       By discharging Plaintiff from his employment, Defendant violated the FMLA’s

anti-retaliation provisions, 29 USC § 2615 et. seq.

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       50.      As a direct and proximate result of Defendant's unlawful employment practices,

Plaintiff has been injured, including emotional distress, loss of income, and loss of career at

Defendant, and is entitled to compensation for damages caused by Defendant, including attorney’s

fees and court costs.

                                          Count Three
             Disability Discrimination in Violation of the Kentucky Civil Rights Act
                                      KRS § 344.010 et seq.

       51.      Plaintiff incorporates by reference all of the above paragraphs as though fully

restated herein.

       52.      Plaintiff pleads this count pursuant to Rule 8(d)(2) of the Federal Rules of Civil

Procedure.

       53.      Plaintiff is a qualified individual with a disability, is perceived as disabled, and/or

has a record of disability as defined by KRS § 344.030.

       54.      Defendant knew of Plaintiff's disability.

       55.      Plaintiff could perform the essential functions of his position with or without a

reasonable accommodation.

       56.      By discharging Plaintiff, Defendant intentionally, willfully, and wantonly

discriminated against Plaintiff because of his disability, whether perceived or real, in violation of

KRS § 344.040(1)(a).

       57.      As a direct and proximate result of Defendant’s discriminatory conduct, Plaintiff

has been injured, including loss of income, loss of career at Defendant, and emotional distress, and

is entitled to recover for damages caused by Defendant, including attorney fees and court costs.




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                                          Count Four
                                       ADA Retaliation
                                    42 U.S.C. § 12203 et seq.


       58.     Plaintiff incorporates by reference all of the above paragraphs as though fully

restated herein.

       59.     Plaintiff pleads this count pursuant to Rule 8(d)(2) of the Federal Rules of Civil

Procedure.

       60.     During Plaintiff’s employment with Defendant, he made requests for reasonable

accommodations.

       61.     During Plaintiff’s employment with Defendant, Defendant “regarded” Plaintiff as

disabled.

       62.     During Plaintiff’s employment with Defendant, he availed himself to the protection

of the Americans with Disabilities Act.

       63.     By terminating Plaintiff almost immediately upon his return from FMLA leave,

Defendant violated the FMLA’s anti-retaliation provisions, 29 USC § 2615 et. seq.

       64.     As a direct and proximate result of Defendant’s unlawful behavior, Plaintiff has

been injured, including loss of income, loss of career at Defendant, and emotional distress, and is

entitled to recovery for damages caused by Defendant, including attorney fees and costs.

                                               Count Five
                                            Punitive Damages

       65.     Plaintiff incorporates by reference all of the above paragraphs as though fully

restated herein.

       66.     The acts of Defendant, as set forth above, rise to the level of gross negligence and/or

intentional and/or wanton or reckless behavior.

       67.     As such, Defendant is liable to Plaintiff in punitive damages.
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                                   Prayer for Relief

   WHEREFORE, Plaintiff Timothy Gregg demands judgment against Defendant as follows:

   1.     Judgment against Defendant for violating the Americans with Disabilities Act;

   2.     Judgment against Defendant for violating the Family and Medical Leave Act;

   3.     Judgment against Defendant for violating Kentucky Civil Rights Act;

   4.     An award of back pay, compensatory damages for all current and future economic

          injuries suffered by Plaintiff in an amount consistent with the evidence at trial in

          an amount to be determined by the jury;

   5.     Order Defendant to reinstate Plaintiff to his position or otherwise award Plaintiff

          front pay and other make-whole and equitable relief;

   6.     An award of punitive damages in an amount consistent with the evidence at trial

          in an amount to be determined by the jury;

   7.     An award of Plaintiff’s reasonable attorney’s fees, costs, and expenses;

   8.     Award Plaintiff pre-judgment and post-judgment interest; and

   9.     All such other relief and further relief as the Court deems appropriate.




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                                                      Respectfully submitted,


                                                      /s/ Christopher Wiest
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                                                      Cincinnati, OH 45242
                                                      P: 513-500-8511
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                                         JURY DEMAND

Plaintiff hereby demands that all issues of fact in the foregoing complaint be tried to a jury.


                                                      /s/ Christopher Wiest_____________
                                                      Christopher Wiest




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